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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


JESSE FRUHWIRTH,                               TESORO’S MOTION FOR SUMMARY
                                               JUDGMENT AND MEMORANDUM IN
                    Plaintiff,                 SUPPORT

vs.

YVETTE ZAYAS, Salt Lake City Police
Officer; CHRISTOPHER BURBANK, Salt             Civil No. 2:14-cv-00644-DB
Lake City Police Chief; TESORO
COMPANIES, INC., a Delaware Corporation;       Judge Dee Benson
TESORO REFINING & MARKETING
COMPANY, LLC, a Delaware Limited
Liability Company; JOHN DOES I-XX, Salt
Lake City Police Officers; MAYOR RALPH
BECKER, Mayor of Salt Lake City; and SALT
LAKE CITY, a municipal corporation,

                    Defendants.


         Pursuant to Federal Rule of Civil Procedure 56 and DUCivR 56-1, Defendants Tesoro

Companies, Inc. and Tesoro Refining & Marketing Company, LLC (collectively “Tesoro”), by




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and through counsel, move for summary judgment against Plaintiff Jesse Fruhwirth

(“Fruhwirth”).

                                       INTRODUCTION

         Fruhwirth’s Complaint arises out of an interchange between himself and a Salt Lake City

police officer, Sergeant Yvette Zayas, on the night of December 18, 2013. On that night, shortly

before midnight, Fruhwirth drove to a street adjacent to Tesoro’s oil refinery in Salt Lake City, at

a time when a power outage had caused a shutdown of the refinery. He got out of his car and

started videotaping the refinery.      Because oil refineries are considered critical national

infrastructure, Tesoro is required among other things, to report incidents of photography or

videography of its refinery facilities to the National Response Center in Washington, D.C. and to

the Joint Terrorism Task Force. Consistent with that requirement, Tesoro informed Sergeant

Zayas of Fruhwirth’s location and activity. On that night, Sergeant Zayas was off duty from her

police job, and was providing security services to Tesoro pursuant to a contract between the Salt

Lake City Police Department and Tesoro Refining & Marketing Company, LLC.

         Sergeant Zayas, dressed in her police uniform, drove her assigned police car to the

location where Fruhwirth was filming the refinery, and questioned him about what he was doing.

Based upon her own observations, she considered the situation to be suspicious. She asked

Fruhwirth to “hold tight” while she checked his car registration and license for warrants, etc.

She did not search his car, confiscate his video camera, touch his person or tell him to stop

filming. Indeed, Fruhwirth taped the interchange between himself and Sergeant Zayas, which

the Court can review in ten minutes. Having conducted an independent investigation, at which

no Tesoro employee was present, and having learned the identity of Fruhwirth, Sergeant Zayas

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left Fruhwirth to his own devices. She gave an oral report to Tesoro, and wrote a police report

for the Salt Lake City Police Department.

          On the basis of these events, Fruhwirth sued Tesoro and various governmental

defendants, claiming that they violated his civil rights under the First, Fourth and Fourteenth

Amendments to the United States Constitution. His Complaint asserts no common law claims,

but rather is limited to two causes of action—both brought under 42 U.S.C. § 1983. He seeks

declaratory, injunctive and monetary relief. However, an essential element of a Section 1983

claim is that the conduct complained of must occur “under color of law,” or in other words, the

conduct allegedly causing the deprivation of a federal right must be fairly attributable to state

action.

          Tesoro is entitled to summary judgment because it is a private entity, it had no

interchange with Fruhwirth whatsoever, and it did not act under color of state law. There is

abundant case authority from the Tenth Circuit and federal courts around the country that a

private entity’s hiring of off-duty police officers to provide security services is not in and of itself

state action for purposes of Section 1983. Moreover, Fruhwirth has not shown and, based upon

the record evidence, cannot show that any of the four tests recognized by the Tenth Circuit and

the Supreme Court for determining whether private conduct occurs under color of state law are

satisfied here.

                                 STATEMENT OF ELEMENTS

          Fruhwirth’s Complaint asserts two causes of action against Tesoro under 42 U.S.C. §

1983: (1) violation of Fruhwirth’s right to be free from unreasonable warrantless searches and

seizures under the Fourth and Fourteenth Amendments to the United States Constitution; and (2)

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violation of Fruhwirth’s rights of free speech, free expression and freedom of the press under the

First and Fourteenth Amendments, through unlawful detention and harassment.

         To prevail on a Section 1983 claim, a plaintiff must prove that a person acting under

color of state law deprived him or her of a right secured by the Constitution of the United States.

Lugar v. Edmundson Oil, Co., 457 U.S. 922, 935 (1982); Gallagher v. Neil Young Freedom

Concert, 49 F.3d 1442, 1447 (10th Cir. 1995).

                       STATEMENT OF UNDISPUTED MATERIAL FACTS

         1.         On the night of December 18, 2013, there was a power outage in parts of Salt

Lake City, Utah, which knocked out power at the Tesoro oil refinery located at 950 North and

400 West in Salt Lake City. (Deposition of Jesse Fruhwirth (“Fruhwirth Depo.”) at 38:9-21;

39:24-40:5 (excerpts of the Fruhwirth Depo. are attached as Exhibit A); Deposition of Clyde

Foreman (“Forman” Depo.”) at 32:25-34:1 (excerpts of the Foreman Depo. are attached as

Exhibit B).)

         2.         During the power outage, Fruhwirth drove his car to the refinery, and parked it on

400 West near the intersection of 400 West and Beck Street, adjacent to the refinery. (Fruhwirth

Depo. at 42:1-22; Complaint at ¶ 19.) Fruhwirth got out of his car and began filming the refinery

with a video camera. (Fruhwirth Depo. at 44:9-45:16.)

         3.         Security personnel at Tesoro noticed that an unknown individual (Fruhwirth, as it

turned out) was filming the refinery, and informed Sergeant Yvette Zayas of the Salt Lake City

Police Department of Fruhwirth’s location and activity. (Deposition of Yvette Zayas (“Zayas

Depo.”) at 32:10-33:3 (excerpts of the Zayas Depo. are attached as Exhibit C).)




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         4.         On the night of December 18, 2013, Sergeant Zayas was off duty as to her job

with the Salt Lake City Police Department, but was working for Tesoro pursuant a Police

Officers Secondary Employment (“POSE”) contract between Tesoro Refining & Marketing

Company, LLC and the Salt Lake City Police Department. (Id. at 19:4-14.)

         5.         Tesoro hires POSE officers specifically to patrol the perimeter of Tesoro refining

assets in Salt Lake City,” and asks them to (1) look for abandoned vehicles parked in critical

areas; (2) interdict criminal trespassers; and (3) investigate suspicious photographers. (Foreman

Depo. at 15:23-16:13.)

         6.         The Department of Homeland Security, under two separate regulatory programs

(the Marine Transportation Security Act and the Chemical Facility Antiterrorism Standards

Program) requires Tesoro, among other things, to report incidents of photography or videography

of refinery facilities to the National Response Center in Washington, D.C. and to the Joint

Terrorism Task Force. (Foreman Depo. at 8:16-10:13.)1

         7.         Tesoro policy with respect to photographers is that, if Tesoro personnel sees

someone filming the refinery, they are to contact Tesoro security, and Tesoro security contacts

the police department and asks the police to contact the photographer. (Id. 14:25-15:13) If that

happens when POSE officers are present, then Tesoro security contacts the POSE officers by




1
  Clyde Foreman is the Regional Security Manager for the Central United States for Tesoro
Refining & Marketing Company, LLC. (Foreman Depo. at 6:19-7:4.) Mr. Foreman was a
special agent and a supervisory special agent for the Federal Bureau of Investigation for twenty-
one years, before which we was a police officer in two municipal police departments in
Washington and California for twelve years, and after which he was the chief of operations for
the Chelan Sheriff’s Department in Wenatchee, Washington for another two years, before joining
Tesoro. (Id. 31:18-32:15.)
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radio; but if POSE officers are not present, then Tesoro security makes a 911 call to have on-duty

police officers sent to investigate. (Id. at 15:14-22.)

         8.         While Fruhwirth was outside of his parked car, filming the refinery, Sergeant

Zayas, who was dressed in a Salt Lake City Police Department uniform, drove to Fruhwirth’s

location in a Salt Lake City police car, with lights flashing but without turning on the siren, and

parked about ten to twenty feet in front of Fruhwirth’s car. (Fruhwirth Depo. at 53:10-54:14;

58:8-13.)

         9.         Zayas considered Fruhwirth’s presence and activity to be “suspicious” based upon

the time of day (between 11:00 p.m. and midnight), the darkness of the night, the power outage,

Fruhwirth’s location, the activity of filming the refinery during a power outage, not knowing

what relationship Fruhwirth had to the power outage, the manner in which Fruhwirth’s car was

parked, the fact that Fruhwirth had not activated his car’s hazard lights, and the fact that the road

where Fruhwirth was parked was deserted. (Zayas Depo. at 33:4-34:4.)

         10.        Sergeant Zayas got out of the police car and asked Fruhwirth what he was doing,

and he told her that he was filming the refinery. (Fruhwirth Depo. at 57:7-59:19.)

         11.        After answering Sergeant Zayas’ question about what he was doing, Fruhwirth

turned his video camera on and recorded the entire interchange between himself and Sergeant

Zayas from that point. (Id. at 59:20-61:9) Although Fruhwirth turned his video camera off while

Sergeant Zayas sat in the police car running a check on Fruhwirth’s registration, there was no

dialogue or interaction between Sergeant Zayas and Fruhwirth during the time that the camera

was turned off. Fruhwirth turned the camera back on and recorded the remaining interchange

between himself and Sergeant Zayas. (Id. 59:20-61:10.)

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         12.        Fruhwirth’s Initial Disclosures included a digital copy of the video-recorded

interchange between himself and Sergeant Zayas, which is ten minutes and nineteen seconds

long, which he verified in his deposition was complete. (Id. at 118:2-14.) (A copy of the video

was marked as Exhibit 2 to the Fruhwirth deposition, but it will be filed conventionally pursuant

to a Notice of Conventional Filing, and designated as Exhibit D to this Motion.)

         13.        Sergeant Zayas did not touch Fruhwirth; she did not search his car; she did not

touch his video camera; she did not seize the tape or disk containing the recording he had made;

and she returned the only things she took from him (license, registration and insurance card).

(Fruhwirth Depo. at 64:14-65:7.) Sergeant Zayas did not tell Fruhwirth to turn his video camera

off; she did not ask to see the video recording that he had made. (Id. 63:5-16.)

         14.        After she made contact with Fruhwirth, Sergeant Zayas gave a verbal report to

Clyde Foreman about her interaction with Fruhwirth, but provided no written report to Tesoro.

She generated a police report relating to her interaction with Fruhwirth, which she submitted to

the Salt Lake City Police Department, but not Tesoro. (Zayas Depo. at 26:10-27:8 and Exhibit 1

to the Zayas Depo.)

         15.        Sergeant Zayas testified that if she had been on the same street, at the same hour

of the day, under the same circumstances, and had encountered Fruhwirth filming the refinery,

but had been on duty with the Salt Lake City Police Department, she would not have done

anything differently than she did. (Id. at 48:3-7.)




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                                            ARGUMENT

         FRUHWIRTH’S CLAIMS AGAINST TESORO FAIL BECAUSE TESORO
         IS NOT A STATE ACTOR, AND HIRING SERGEANT ZAYAS IS NOT A
         VIOLATION OF EITHER THE FOURTEENTH AMENDMENT OR 42
         U.S.C. § 1983.

         A.         Requirement of State Action. Both of Fruhwirth’s two causes of action against

Tesoro are based upon the Fourteenth Amendment to the United States Constitution and 42

U.S.C. § 1983. The Fourteenth Amendment, however, provides in pertinent part that “[n]o State

shall . . . deprive any person of life, liberty, or property, without due process of law.” Thus, a

bright-line distinction exists between governmental action, which is subject to scrutiny under the

Fourteenth Amendment, and private action, which is not. Gallagher v. Neil Young Freedom

Concert, 49 F.3d 1442, 1446 (10th Cir. 1995). The First and Fourth Amendments, which are the

underlying bases of Fruhwirth’s two claims, have the same dichotomy. The First Amendment

protects against laws made by “Congress.” The Fourth Amendment prohibits only unreasonable

searches and seizures conducted by government and its agents. Gallagher, 49 F.3d at 1446.

         Similarly, under 42 U.S.C. § 1983, liability for constitutional violations only attaches to

conduct occurring under “color of law.” “Thus, the only proper defendants in a Section 1983

claim are those who ‘represent [the state] in some capacity, whether they act in accordance with

their authority or misuse it.’” Id. (quoting National Collegiate Athletic Ass’n v. Tarkanian, 488

U.S. 179, 191 (1988) (quoting Monroe v. Pape, 365 U.S. 167, 172 (1961))).

         B.         Hiring Off-Duty Police Officers Does Not Equate to State Action. Fruhwirth

has not alleged nor is there any record evidence that, on the night of December 18, 2013, he had

any interaction whatsoever with any person other than Sergeant Zayas. Indeed, the only conduct

Fruhwirth alleges against Tesoro specifically is that Tesoro “hires off-duty Salt Lake City police
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officers (including defendant Zayas) to provide security and other services at its refinery located

in Salt Lake City.” (Complaint, ¶¶ 7-8.) Thus, according to Fruhwirth, the mere fact that Tesoro

“hired” Sergeant Zayas under the POSE contract to provide security services at its refinery in her

off-duty hours means that Tesoro is in a “joint enterprise” with Zayas and other governmental

defendants such that Zayas’ actions on the night of December 18, 2013 constitute state action by

Tesoro under color of state law. (Complaint, ¶ 16.)

         Fruhwirth’s claims fail as a matter of law because merely engaging off-duty police

officers to provide security services does not make a private employer a state actor. The Tenth

Circuit so held in Draeger v. Grand Central, Inc., 504 F.2d 142 (10th Cir. 1974). In that case,

department store Grand Central hired an off-duty Orem City police officer, David Park, as a

security guard. One evening Park was off duty from his police job and engaged in security work

for Grand Central. He thought he saw the plaintiff shoplifting. He placed the plaintiff under

arrest, twisted his arm, detained him and searched him. No stolen merchandise was found. The

plaintiff brought an action in this Court, asserting claims under 42 U.S.C. § 1983 and under the

common law for false imprisonment and false arrest. The jury returned a verdict against both

Grand Central and Park under Section 1983 and the common law. Id. at 143.

         The Tenth Circuit reversed in part and affirmed in part, holding that, although Grand

Central could be held liable under the common law claims, it could not be held liable under

Section 1983 merely because it hired an off-duty police officer to provide security services. Id.

at 146.2 The Draeger court cited cases from the Seventh and Eighth Circuits and various district



2
 The court held that Park could be liable under both the common law claims and the Section
1983 claim. 504 F.2d at 146.
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courts for the proposition that, “[g]enerally speaking, the doctrine of vicarious liability or

respondeat superior has been ruled out in cases arising under the Federal Civil Rights statutes.”

Id. at 146 (citations omitted). The court reiterated the fundamental concepts that: (1) “a private

entity does not have the requisite official character and thus cannot be reasonably concluded to

be representing the state”; and (2) “[t]he Fourteenth Amendment does not, of course, protect

against private action.” Id. The court held:

                 We are of the opinion then that the appellant department store cannot be
         held liable solely as a master or principal. If the store were an active participant
         it could still not be state action. Therefore, the aggrieved person must look to
         common law actions for relief.
                 . . . [W]e consider the judgment against Grand Central on the civil rights
         claim to be out of harmony with the applicable constitutional provision and the
         federal statute enacted pursuant thereto.

Draeger, 504 F.2d at 146 (emphasis added).

         Similarly, in Morris v. Dillard Department Stores, Inc., 277 F.3d 743 (5th Cir. 2001), the

Fifth Circuit affirmed summary judgment in favor of a department store (Dillard’s), its insurer,

and an off-duty police officer hired by Dillard’s to provide security services—on plaintiff’s

Section 1983 claims and common law claims arising from the officer’s conduct in arresting,

handcuffing and detaining the plaintiff. Citing Lugar v. Edmundson Oil, Co., 457 U.S. 922, 924,

928-32 (1982), the court repeated the familiar requirement that, for a plaintiff to state a viable

claim under Section 1983 against a private defendant, the conduct of the private defendant that

forms the basis of the claimed constitutional deprivation must constitute state action under color

of state law. 277 F.3d at 746. Like Sergeant Zayas, the off-duty police officer hired by Dillard’s

was wearing his police uniform when he acted. Id. at 746. An important fact in the court’s




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analysis was the officer’s independent investigation, independent observation and completion of

his own incident report. Id. at 750.

         Here, as in Morris, there is undisputed record evidence that Sergeant Zayas conducted an

independent investigation, which was based upon her own observations, and completed her own

police report. (See Statement of Undisputed Material Facts, Nos. 8-10 and 14.)

         Similar results have obtained in numerous district court actions around the country. For

example, in Jones v. Wet Seal Retail, Inc., 519 F. Supp. 2d 1164 (D. Kan. 2007), the district

court denied a plaintiff’s motion for leave to amend her complaint to add a Section 1983 claim

against a retailer and security guards’ employer (where one of the guards was an off-duty

Reserve Police Officer for the City of Overland Park, Kansas (who was wearing a city-issued

police uniform and carrying a city-issued police badge)). The court held that the motion was

futile because an allegation of employment of an off-duty police officer was insufficient to

constitute state action. 519 F. Supp. 2d at 170. See also Mixon v. Cowboys OKC, Inc., No. Civ-

12-100-R, 2012 WL 1977952, at *2–4 (W.D. Okla. June 1, 2012) (granting, on color of state law

grounds, motion to dismiss complaint that alleged a private entity hired University of Oklahoma

policemen as private security guards, who wore their official uniforms, carried their official

badges, carried their service guns, and shot the plaintiff); Tillery v. City of Claremore, No. 09-

CV-697, 2010 WL 3368657, at *2 (N.D. Okla. Aug. 24, 2010) (granting, on color of state law

grounds, motion to dismiss complaint that alleged a private apartment complex owner hired off-

duty police officer, but which did not allege facts suggesting officer’s use of excessive force

resulted from any concerted action between owner and officer, whether through conspiracy,

prearranged plan, customary procedure or policy).

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         Application of these legal principles to the present action confirms that summary

judgment should be granted in Tesoro’s favor. Most importantly, as shown above, the mere fact

that a private entity hired off-duty police officers is not enough to establish state action. The

hiring of off-duty police officers, however, is all that Fruhwirth can show. Moreover, Fruhwirth

has no evidence to meet any of the four tests described by the Tenth Circuit in Gallagher to show

that “‘the conduct allegedly causing the deprivation of a federal right’ must be ‘fairly attributable

to the State.’” Gallagher, 49 F.3d at 1447 (quoting Lugar, 457 U.S. at 937).

         C.         Fruhwirth Cannot Meet the Gallagher Tests. Of the four Gallagher tests, the

only one that Fruhwirth even has an allegation about is the “joint action” test. However, the bare

allegation in Fruhwirth’s Complaint of a “joint enterprise” lacks any reference to specific facts.

(Complaint ¶ 16.)        More importantly, Fruhwirth has adduced no evidence of such a joint

enterprise or action. In Gallagher, the Tenth Circuit stated that the mere fact that the state and

private actors arguably shared the common goal of producing a profitable music concert did not

establish the necessary degree of concerted action. 49 F.3d at 1455. The court explained that,

“[u]nder this approach, state and private entities must share a specific goal to violate the

plaintiff’s constitutional rights by engaging in a particular course of action.” Id. Here, of course,

there is not even the common goal of monetary profit between Tesoro and the governmental

defendants. To the contrary, the undisputed evidence simply shows that Tesoro’s only goal

related to Fruhwirth was to comply with the Homeland Security reporting requirements relating

to photography and videography of critical infrastructures such as oil refineries. (See Statement

of Undisputed Material Facts, No. 6.)




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         Fruhwirth has also offered no evidence or even any allegations of the “nexus test,” that is

that a sufficiently close nexus exists between Tesoro and Zayas such that Tesoro could fairly be

treated as a state actor. See Gallagher, 49 F.3d at 1448. There is no evidence that Zayas or the

other governmental defendants exercised coercive power over Tesoro or provided such

significant encouragement to Tesoro that its decisions or actions must be or even can be deemed

to be that of the governmental defendants. Indeed, other than alerting Zayas to Fruhwirth’s

presence and video graphic activity, Tesoro did nothing as it relates to Fruhwirth.

         Fruhwirth likewise has no evidence under the “symbiotic relationship” test.            See

Gallagher, 49 F.3d at 1451. The record is devoid of evidence that the government defendants

have “so far insinuated [themselves] into a position of interdependence” with Tesoro that “it

must be recognized as a joint participant in the challenged activity.” Id. (quoting Burton v.

Wilmington Parking Auth., 365 U.S. 715, 725 (1961)). Indeed, the undisputed evidence is that, if

Tesoro sees a photographer filming the refinery when POSE officers are present, then Tesoro

security contacts the POSE officers by radio; but if POSE officers are not present, then Tesoro

security makes a 911 call to have on-duty police officers sent to investigate. (Statement of

Undisputed Material Fact No. 7.)

         Finally, under the “public function test,” Fruhwirth has not alleged, much less developed

evidence, that Tesoro exercises powers traditionally reserved exclusively to the State.

Gallagher, 49 F.3d at 1456. Interestingly, as shown immediately above, Tesoro’s policy with

respect to photographers is quite the opposite of usurping traditional police power by attempting

to interdict or investigate photographers filming Tesoro’s refinery. Instead, Tesoro’s policy,

which it followed with Fruhwirth, is to have its security personnel call the POSE officers or 911

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and let the police handle that public function. Fruhwirth has asserted no public functions

exercised by Tesoro, nor does his Complaint allege any that the governmental defendants have

delegated to it.

          Thus, Fruhwirth has not met any of the tests laid out in Gallagher to show that any act by

Tesoro at or around December 18, 2013, vis-à-vis Fruhwirth, can properly be considered as

arising under color of state law. The most Fruhwirth can say is that Tesoro engaged Sergeant

Zayas under the POSE program, which is, as a matter of law, insufficient to establish state

action.

                                          CONCLUSION

          For the reasons state above, summary judgment should be granted on all of Fruhwirth’s

claims against Tesoro.

          DATED this 1st day of March, 2016.



                                                   /s/ David M. Bennion
                                                   DAVID M. BENNION
                                                   ZACK L. WINZELER
                                                   PARSONS BEHLE & LATIMER

                                                   Attorneys for Defendants Tesoro Companies,
                                                   Inc. and Tesoro Refining & Marketing
                                                   Company, LLC




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                                     CERTIFICATE OF SERVICE

         I hereby certify that on this 1st day of March, 2016, I electronically filed the foregoing

TESORO’S MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM IN

SUPPORT with the Clerk of the Court using the CM/ESC system that will send electronic

notification to the following individuals:

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                                                  /s/ David M. Bennion




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